July 8, 2020

Daniel MacDonald
danpmacd@hotmail.com


RE: Outcome of Title IX Complaint

Dear Daniel,
Thank you for your patience during the investigation into the allegation of discrimination reported to this office. The
investigation is now complete, and this letter serves to inform you of the outcome and your right to appeal. Please see the
summary of findings below.

       OUTCOME:
        Based on the information obtained during the investigation, a preponderance of the evidence does not support a
        violation of University rule R.01.04.010.B.6 with respect to the facts pertinent to Complainant 1.

         Taking into consideration all of the information contained in the evidence and the totality of the circumstances, a
         preponderance of the evidence does support a violation of University rule R.01.04.010.B.2.c with respect to
         Complainant 2.

Pursuant to Regents’ Policy and University Regulation 01.04.100, both parties have the right to appeal the findings of an
investigation. I have included a copy of BOR policy 01.04 for your reference.


If you have any questions, please do not hesitate to contact me.

Sincerely,




Sara Childress
UAA Title IX Coordinator



Enclosures:    Investigative Report
               Regents' Policy and University Regulation 01.04




    _________________________________________________________________________________________________________
 UA is an AA/EO employer and educational institution and prohibits illegal discrimination against any
                         individual: www.alaska.edu/nondiscrimination
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